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                                 UNITED STATES DISTRICT COURT
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                                        DISTRICT OF NEVADA
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      LAS VEGAS POLICE PROTECTIVE                             2:15-cv-1928-LDG-CWH
8     ASSOCIATION; LAS VEGAS METRO
      POLICE MANAGERS & SUPERVISORS                           ORDER
9     ASSOCIATION;
10           Plaintiffs,
11    v.
12    LAS VEGAS METROPOLITAN POLICE
      DEPARTMENT;
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             Defendant.
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            Plaintiffs have filed a motion for preliminary injunction (#6, opposition #12, reply #16),
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     and defendant has filed a motion to dismiss (#10, response #17, reply #32). The arguments made
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     in both the motion for preliminary injunction and the motion to dismiss–notably, whether the
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     lawsuit was ripe and whether plaintiffs faced irreparable injury, have been taken up in the more
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     recently filed motion for summary judgment (#24). Accordingly, the court finds it expedient to
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     consider the motion for preliminary injunction and the motion to dismiss at the time it addresses
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     the motion for summary judgment.
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            THE COURT HEREBY ORDERS that plaintiffs’ motion for preliminary injunction (#6)
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     and defendant’s motion to dismiss (#10) are DENIED without prejudice.
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            DATED this ____ day of September, 2016.
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                           30                             ________________________
26                                                        Lloyd D. George
                                                          United States District Judge
